                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 2:11-00002-32
                                                    )      Judge Trauger
JESSICA LYNN BURNS                                  )
                                                    )

                                          ORDER

       It is hereby ORDERED that the Judgment entered on April 30, 2013 (Docket No. 1499)

is AMENDED by changing the Recommendation to the Bureau of Prison on page 2 to

recommend that defendant be housed in a federal facility close to Crossville, Tennessee.

       It is so ORDERED.

       ENTER this 8th day of May 2013




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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